       Case 1:24-cv-00251-LM-TSM             Document 59-3         Filed 08/24/24       Page 1 of 4


                             HOUSE RECORD B
                               Second Year of the 168th General Court

   State of
                         Calendar and Journal of the 2024 Session
New Hampshire                         Web Site Address: www.gencourt.state.nh.us

  Vol. 46            Concord, N.H.              Friday, March 15, 2024           No. 11X
  Contains: Amendments; Committee Reports; Bills Laid on Table; House Bills Amended By
            Senate; House Deadlines; Meetings and Notices; Revised Fiscal Notes.


                             HOUSE CALENDAR
MEMBERS OF THE HOUSE:
Thank you, again, for your dedicated service to our state this week.
The House will meet on Thursday, March 21st, 2024, starting at 10:00 a.m. Please also hold Thursday, March
28th, and Thursday, April 11th, for House session days.
Disagreement in political matters is inevitable. But we all have the responsibility to be professional, respect-
ful, and lead by example. As public office holders, we have a duty to hold ourselves to a higher standard and
put civility first. Our fellow legislators and our constituents have the right to be heard, and we owe them
the respect and dignity of listening. Everyone has a right to present an opposing viewpoint. No legislator or
member of the public should feel intimidated or fear hostility over testimony they give before a committee.
No legislator should feel intimidated or fear hostility over remarks they may deliver before the House or a
vote they may take in committee or in session.
With national conferences and other events taking place over the next several months, members should be
aware of their obligations under the Legislative Ethics Guidelines. Members are permitted to accept expense
reimbursement for the reasonable expenses for attendance, registration, travel, meals, and lodging related
to a bona fide conference, meeting, seminar, or educational, cultural, or informational program related to
the legislator’s office (for example, reimbursement or stipends received from an organization such as NCSL
or CSG) so long as disclosure of any such reimbursement is made no later than the last day of the month
following the month during which the expense reimbursement was received. This disclosure shall be filed
in the Office of the Secretary of State and shall be in the form prescribed in RSA 14-C. This provision does
not require the reporting of an expense reimbursement made by the General Court to a legislator. If you
have any questions on expense reimbursements or ethics filings, please feel free to contact Rich Lambert,
Executive Administrator of the Legislative Ethics Committee, at either richard.lambert@leg.state.nh.us or
(603) 271-3435.
Your safety and security are a high priority in and around the State House Complex. To report a security
concern, please visit the nearest Protective Services post, or call 603-271-2200. If there is an emergency situ-
ation, dial 9-1-1 first.
							                                                Sherman A. Packard, Speaker of the House

                                                 NOTICE
There is no chair/ vice chair meeting scheduled at this time. The next meeting of the chairs and vice chairs
will be announced in an upcoming Calendar.
							                                               Sherman A. Packard, Speaker of the House

                                                 NOTICE
There will be a Republican Caucus on Thursday, March 21st at 9:00 a.m. in Representatives Hall.
							                                          Rep. Jason Osborne, Majority Leader

                                                 NOTICE
There will be a Democratic Caucus on Thursday, March 21st at 9:00 a.m. in the State House Cafeteria.
							                                          Rep. Matt Wilhelm, Democratic Leader
         Case 1:24-cv-00251-LM-TSM              Document 59-3        Filed 08/24/24       Page 2 of 4

2                                   15 MARCH 2024 HOUSE RECORD

                                                NOTICE
ALL reports, scheduling and notices are due in the House Clerk’s Office by 3:00 p.m. on WEDNESDAYS.
Reports and scheduling shall be turned in to House Committee Services for processing no later than 1:00 p.m.
on Wednesday. Please be sure to complete that work in a timely fashion to meet the Calendar deadline.
CLOSES AT 3:00 p.m. ON:                        AVAILABLE ON:
Wednesday, March 20, 2024                      Friday, March 22, 2024
Wednesday, March 27, 2024                      Friday, March 29, 2024
Wednesday, April 3, 2024                       Friday, April 5, 2024
							                                                Paul C. Smith, Clerk of the House

                                  2024 HOUSE DEADLINES
                                       Second Year Session Deadlines
Thursday, March 21, 2024                      Last day to report House Bills not in a second committee
Thursday, March 28, 2024                      Last day to act on House Bills not in a second committee
Thursday, April 4, 2024                       Last day to report all House Bills
Thursday, April 11, 2024                      CROSSOVER – Last day to act on all House Bills
Thursday, April 25, 2024                      Last day to report Senate Bills going to a second committee
Thursday, May 2, 2024                         Last day to act on Senate Bills going to a second committee
Thursday, May 16, 2024                        Last day to report all Senate Bills
Thursday, May 23, 2024                        Last day to act on all Senate Bills
Thursday, May 30, 2024                        Last day to form committees of conference
Thursday, June 6, 2024                        Last day to sign committee of conference reports (4:00 p.m.)
Thursday, June 13, 2024                       Last day to act on committee of conference reports
Tuesday, September 3, 2024                    First day for incumbents running for re-election to file LSRs
                                              with complete information
Friday, September 13, 2024                    Last day prior to the General Election for incumbents running
                                              for re-election to file LSRs with complete information
Friday, October 25, 2024                      Last day to file 2024 Interim Study reports
Wednesday, November 6, 2024                   First day for all Representatives to file LSRs with complete
                                              information
Friday, November 22, 2024                     Last day to file LSRs with complete information (4:00 p.m.)
                                              Ten-day signoff begins
Thursday, January 2, 2025                     Last day to sign-off on all LSRs (12:00 p.m.)
Friday, January 24, 2025                      Last day to introduce House Bills
                                              Last day to amend House Rules by majority vote




                                               NOTICE
             Please note that all streaming videos of standing committee meetings and
                joint committees can be found at the NH House of Representatives
                        YouTube channel. The link to the YouTube channel:
               www.youtube.com/c/NHHouseofRepresentativesCommitteeStreaming



                               BILLS LAID ON THE TABLE
HB 147, relative to membership of the advisory committee on the education of students with disabilities.
Pending question: No pending question.
HB 232-FN, adopting section 1910 OSHA standards for public sector employees in New Hampshire. Pending
question: Amendment (2429h).
HB 267, relative to criminal records checks in school employment. Pending question: Refer for Interim Study.
HB 301, relative to recusal by members of the general court for conflicts of interest. Pending question: Amend-
ment (2326h).
HB 369, establishing a task force to provide energy relief on farms. Pending question: No pending question.
HB 375-FN, relative to the licensure of nonresident aliens temporarily residing in New Hampshire. Pending
question: Inexpedient to Legislate.
       Case 1:24-cv-00251-LM-TSM               Document 59-3         Filed 08/24/24       Page 3 of 4

                                     15 MARCH 2024 HOUSE RECORD                                                 16

                THURSDAY, MARCH 21
                REGULAR CALENDAR
CHILDREN AND FAMILY LAW
HB 1192-FN, relative to contempt actions in domestic relations matters. OUGHT TO PASS WITH AMEND-
MENT.
Rep. Debra DeSimone for Children and Family Law. This bill as amended addresses the rise in contempt
cases in family court, giving the judge latitude to assess penalties. Vote 9-5.
HB 1659-FN, relative to interference with child custody and shared parenting. MAJORITY: OUGHT TO
PASS WITH AMENDMENT. MINORITY: INEXPEDIENT TO LEGISLATE.
Rep. Debra DeSimone for the Majority of Children and Family Law. This bill is working toward a more strict
adherence to parenting plans specifically ordered by the court, and implements penalties for noncompliance
thereof. Vote 8-6. Rep. Heather Raymond for the Minority of Children and Family Law. This bill requires
the family court to order compensatory parenting time when a parent fails to comply with parenting plans.
While on the surface this seems to be a neutral stance, in reality it prevents the court from considering the
best interests of the child, particularly in situations where DCYF has asked for a temporary safety plan to
keep a child with one parent while the other is being investigated. Custody matters are a matter of best in-
terests, but DCYF is required to show a preponderance of the evidence that a child has suffered protracted
harm as a result of abuse of neglect. There are numerous scenarios where a court may find that something is
not in a child’s best interest even if it does not result in physical injury and a finding of abuse. As amended,
this bill would require the court to ignore the best interest requirement.

CRIMINAL JUSTICE AND PUBLIC SAFETY
HB 1528, relative to reporting by the northern border alliance program. OUGHT TO PASS WITH AMEND-
MENT.
Rep. Alissandra Murray for Criminal Justice and Public Safety. This bill, as amended by committee, aligns
required reporting statute with state police protocol regarding the new Northern Border Alliance program.
This will ensure the governor and legislature receive adequate reporting from the program to ensure proper
financial resourcing. Vote 19-1.

EDUCATION
HB 1205, relative to women’s school sports. WITHOUT RECOMMENDATION
Statement in support of Ought to Pass with Amendment: Protecting fairness in women’s sports is
a women’s rights issue. Women worked for years to get Title IX passed in 1972 to ban sex discrimination
in federally funded education programs and athletics. Since 2020, 23 states have passed laws related to
transgender females competing against biological females. This bill, as amended, applies to only grades 5-12
interscholastic or club teams and limits participants based on biological sex. This does not apply to student
eligibility on intramural teams designated as mixed or coed. The bill also provides for a cause of action if
a student is deprived of athletic opportunities, is subjected to retaliation, or suffers any direct or indirect
harm. The committee heard that nobody has been denied scholarships or injured in competition involving
transgender females. The truth, however, is that girls have been injured. In Massachusetts this year, three
girls were injured in a basketball game causing the team to forfeit, and a West Virginia girl was injured in
volleyball and was still suffering a year later. There is an ongoing federal legal case involving girls in Con-
necticut who lost scholarship opportunities in track. This bill is very simply about fairness, integrity, and
safety in female competition.
							                                                  Rep. Glenn Cordelli
Statement in support of Inexpedient to Legislate: This is another bill to discriminate against transgender
youth that make up less than 1% of the school population and even less of the athletic teams. All middle and
high school sports are governed by the National Federation of Interscholastic Athletics that oversees competi-
tion for safety, fairness, sets guidelines, determines eligibility of participants, and adopts rules for the sport.
These organizations are made up of representatives of professionals in education, medicine, athletics, sports
management, athletic training, and officiating, not politicians. The NH Interscholastic Athletic Association
has concluded “that it would be fundamentally unjust and contrary to applicable State and Federal laws to
preclude a student from participation on a gender specific sports teams that is consistent with the public gender
identity of that student for all other purposes.” For eligibility purposes, “the school district submits a roster
to the NHIAA that verifies that the student listed on a gender specific sports team is entitled to participation
on that team due to their gender identity and the school district has determined that the expression on the
student’s gender identity is bona fide and not for the purpose of gaining an unfair advantage in competitive
         Case 1:24-cv-00251-LM-TSM               Document 59-3         Filed 08/24/24      Page 4 of 4

17                                  15 MARCH 2024 HOUSE RECORD

athletics.” We should let them do their job. Every student’s physical and mental ability in sports differs from
another regardless of the gender of the students. What separates the successful athlete is the development
of skill, coach ability, work ethic, and competitive spirit. This is what college programs consider when of-
fering scholarships. We have seen a great deal of misinformation but the truth is no one has been denied a
scholarship or suffered an injury that was a result of the participation of a transgendered person. This bill, as
amended, strips away federal law and denies constitutional protections to discriminate against transgender
youth and their families. It further allows lawsuits to be brought against the student, family, and the schools
if the transgender child participates in athletics. While transgender students have many obstacles to face in
life and at school, middle and high school sports should not be one of them.
							                                                  Rep. Linda Tanner
HB 1650-FN, relative to the approval of alternative programs for granting credit leading to graduation.
WITHOUT RECOMMENDATION
Statement in support of Ought to Pass: This bill establishes minimum standards and an approval pro-
cess for alternative programs for granting credit leading to graduation from a public school under what is
commonly known as the “learn everywhere” program. Because there are no minimum standards or approval
processes defined in statute now, the State Board of Education has approved programs that fail to meet rig-
orous academic standards used by public schools. To be sure these programs meet the high standards used
in public schools, the bill requires the Department of Education to convene an ad-hoc committee of educators
to review and report on all applications prior to being considered for approval by the State Board of Educa-
tion. The bill also requires these programs which are open to all public school students to comply with state
and federal anti-discrimination laws and have internal anti-discrimination policies and practices in place.
The State Board of Education shall annually review all programs for ongoing compliance with these anti-
discrimination policies.
							                                                 Rep. David Luneau
Statement in support of Inexpedient to Legislate: This bill requires all alternative learning programs for
granting credit leading to graduation to comply with state and federal anti-discrimination laws, and establishes
a committee to evaluate applications for alternative programs. Any entity offering an educational program ap-
proved under this section shall have policies that are required of school districts and charter schools set forth
under RSA 193:39. The State Board of Education shall annually review all entities that offer an educational
program approved under this section for continued compliance with all state and federal anti-discrimination
laws, including any policies mandated by this section. Businesses already have to follow state and federal
anti-discrimination laws. This bill is unnecessary and would waste the time of businesses who are interested
in helping educate our youth. Currently there are many small businesses offering hands-on opportunities for
our students, such as having students work on construction sites. Asking these small businesses, especially
those with an out-of-state parent company who would have to comply, to create an anti-discrimination policy
when they are already required to follow all state and federal laws, may just convince them that it isn’t worth
their time and effort to help these kids. The sponsor was aware of no instances of violation. Further, the State
Board of Education is not the proper entity to determine if these businesses follow all state and federal anti-
discrimination laws and their own policies. The Human Rights Commission would be much better suited. All
this bill would do is limit learning opportunities.
							                                                 Rep. Alicia Lekas
HB 1654-FN, relative to review of education freedom account service providers. WITHOUT RECOMMEN-
DATION
Statement in support of Ought to Pass: This bill requires educational service providers approved under
the Education Freedom Account (EFA) program to comply with state and federal anti-discrimination laws and
have internal anti-discrimination policies and practices in place. Today, nearly 50% of students are eligible
for EFAs and providers approved under this program cost NH taxpayers more than $25 million per year.
EFA students should have the freedom to choose providers that meet their needs free of discrimination. The
committee heard testimony that some taxpayer-funded providers approved under the EFA program do not
accept students due to gender identity, sexual orientation, or other classes protected under state and federal
anti-discrimination laws. Taxpayer-funded discrimination must stop and the State Board of Education shall
annually review all programs for ongoing compliance with anti-discrimination policies.
							                                                Rep. David Luneau
Statement in support of Inexpedient to Legislate: This bill requires Education Freedom Account (EFA)
service providers to develop and implement policies that are required of school districts and chartered public
schools set forth under RSA 193:39. Additionally, the State Board of Education shall annually review EFA
service providers for continued compliance with all state and federal anti-discrimination laws, including any
policies under this section. To begin with, it would be impossible to ensure that large out-of-state service
providers, such as Amazon, comply with this law. Also, there are hundreds of service providers, and the State
Board of Education is a group of volunteers who could make better use of their limited time than attempting
